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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLOMBIA


GOMEZ, et al.                       )
                                    )
          Plaintiffs,               ) Civil Action No. 20-1419 (APM)
                                    )
     v.                             )
                                    )
TRUMP, et al.                       )
                                    )
           Defendants.              )
                                    )
                                    )
                                    )
____________________________________)

    AKER PLAINTIFFS’ MOTION FOR CLARIFICATION OF COURT ORDER

  On August 13, 2020, Aker plaintiffs moved for class certification for the following class:

       All individual diversity visa immigrant applicants and their derivative beneficiaries
       whose diversity visas were issued prior to Presidential Proclamations 10052 and/or
       10014 taking effect, but who were unable to enter the United States due to travel
       restrictions and who have subsequently been unable to obtain reissuance of their visas
       through the individual consulates of the Department of State pursuant to the Presidential
       Proclamations.

ECF No. 84. In its September 4, 2020, order, the Court declined to rule on the Aker motion,

stating that its ruling would benefit all putative class members. ECF No. 123 at 83. This

decision was made without prejudice pending a final resolution of the merits of the claims.

Id.; see also ECF No. 151 at 3-4. On September 30, 2020, the Court again declined to

certify the class requested by Aker plaintiffs ECF No. 151 at 25-26. In doing so, the Court

ruled that it was not able to make the required numerosity or typicality assessment and that it



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had not received information that a reserved visa number would be necessary for

Department of State to re-issue a reserved visa. Id.

       In its February 19, 2021 order, the Court issued emergency injunctive relief pursuant

to the All Writs Act. ECF No. 209. The order required Department of State to treat all visas

issued pursuant to Gomez I as having been issued in the first instance as of the date of final

judgment in this action, or if the proclamations were rescinded, as of the date of rescission

or expiration. ECF No. 209 at 8-9. This order did not impact those in the requested Aker

class because their visas had initially been issued prior to the issuance of the proclamations

(pre-March 15, 2020) and a group of individuals could not get to a US consulate during the

three weeks of September 2020 during which Defendants reissued a certain number of such

expired visas.

       In its order on August 18, 2021, the Court indicated its understanding that “as for

DV-2020 visa holders with facially expired visas, the State Department has issued public

guidance that indicates that ‘individuals who received diversity visas in 2020 as a result of

orders in the court case Gomez v. Trump may travel to the United States on an expired visa’

at this time.” ECF 237 at 14. Thus, the court reasoned, there was “nothing left for the court

to remedy with respect to those Plaintiffs with DV-2020 visas in hand.” Id.

       While the Court indicated that its understanding was that there was nothing left for

the Court to remedy regarding those with DV-2020 visas in hand, this did not account for

plaintiffs who were issued DV-2020 visas prior to September 2020. The Department of State

has taken the position that such individuals with DV2020 visas issued prior to September

2020 may not enter the United States on their expired visas. This position seems to be in

tension with the Court’s order. As such, Aker Plaintiffs hereby request that the Court clarify


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whether those with DV2020 visas issued prior to September 2020 (but who could not obtain

new visa stamps in September 2020 when such opportunity was available, nor travel into the

United States as a result of pandemic travel restrictions while their visas were valid) are able

to enter the U.S. using their expired DV2020 visas at this time.

Dated: October 27, 2021

                                                      Respectfully submitted,



                                                      s/ Charles H. Kuck
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